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                    9
                 10                           UNITED STATES DISTRICT COURT
                 11            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                 12
                 13     SHAUNA ANDRE, Individually and On             Case No. 2:20-cv-04854-CBM-PJW
                        Behalf of All Others Similarly Situated,
                 14                                                   DEFENDANT U.S. BANK
                                           Plaintiff,                 NATIONAL ASSOCIATION’S:
                 15
                                    v.                                (1) NOTICE OF MOTION AND
                 16                                                       MOTION TO COMPEL
                        U.S. BANK, N.A.,                                  ARBITRATION; AND
                 17
                                           Defendant.                 (2) MEMORANDUM OF POINTS
                 18                                                       AND AUTHORITIES IN
                                                                          SUPPORT THEREOF
                 19
                                                                      [Filed concurrently with Supporting
                 20                                                   Declaration and [Proposed] Order]
                 21                                                   Date:         February 9, 2021
                                                                      Time:         10:00 a.m.
                 22                                                   Judge:        Hon. Consuelo B. Marshall
                                                                      Ctrm:         8B
                 23
                                                                      Complaint Filed: June 1, 2020
                 24                                                   FAC Filed: September 29, 2020
                                                                      Trial Date: None set
                 25
                 26
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                    1      NOTICE OF MOTION AND MOTION TO COMPEL ARBITRATION
                    2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                    3           PLEASE TAKE NOTICE that on February 9, 2021, at 10:00 a.m., or as soon
                    4   thereafter as the matter may be heard, in Courtroom 8B of the above-entitled Court,
                    5   located at the First Street Courthouse, 350 W. 1st Street, Los Angeles, California
                    6   90012, Defendant U.S. Bank National Association (“U.S. Bank”), by and through its
                    7   attorneys of record, will and hereby does move for an order compelling arbitration
                    8   and dismissing this action.1
                    9           This Motion is made pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1-
                 10     16, and upon the grounds that Plaintiff agreed to arbitrate her claims when she
                 11     consented to the arbitration agreement in U.S. Bank’s Your Deposit Account
                 12     Agreement at the time of opening her U.S. Bank checking account at issue in this
                 13     case.    This Motion is based upon this Notice of Motion and Motion, the
                 14     accompanying Memorandum of Points and Authorities, the Declaration of Susan
                 15     Remington, the pleadings and records on file in this action, and such other evidence,
                 16     briefing, and argument as may be presented to the Court at or before the hearing on
                 17     the Motion.
                 18             This Motion is made following the conference of counsel pursuant to L.R. 7-
                 19     3, which took place on December 11, 2020.
                 20     Dated: December 21, 2020             MORGAN, LEWIS & BOCKIUS LLP
                 21
                 22                                          By /s/ Brian M. Jazaeri
                                                                Brian M. Jazaeri
                 23                                             Megan A. Suehiro
                                                                Attorneys for Defendant
                 24                                             U.S. BANK NATIONAL ASSOCIATION
                 25
                 26        1
                             This Motion satisfies U.S. Bank’s obligation to respond to the First Amended
                 27     Complaint, ECF No. 9, at this stage. See Order Re Joint Stipulation Regarding
                        Briefing on Arbitration Issues, ECF No. 16. U.S. Bank reserves the right to file a
                 28     Rule 12(b) motion at a later time. See id.
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                    1                MEMORANDUM OF POINTS AND AUTHORITIES
                    2   I.    INTRODUCTION
                    3         Plaintiff brings this lawsuit contesting certain overdraft fees charged on her
                    4   checking account with U.S. Bank National Association (“U.S. Bank”). Setting aside
                    5   the lack of merit with regard to all of Plaintiff’s claims, Plaintiff cannot pursue this
                    6   action in court because she entered into a valid and binding agreement to arbitrate all
                    7   disputes relating to or arising out of her U.S. Bank checking account. The Federal
                    8   Arbitration Act (“FAA”) requires that Plaintiff honor her agreement to arbitrate
                    9   according to the terms stated therein. This dispute falls squarely within the scope of
                 10     the arbitration agreement and Plaintiff cannot demonstrate any reason for the Court
                 11     to deviate from the FAA’s liberal policy favoring arbitration.
                 12           U.S. Bank respectfully requests that the Court order Plaintiff to individually
                 13     arbitrate all of her claims against U.S. Bank and dismiss this action.
                 14     II.   FACTUAL BACKGROUND
                 15           A.     Plaintiff Entered Into an Arbitration Agreement With U.S. Bank.
                 16           Plaintiff alleges that prior to January 2020, she opened a personal U.S. Bank
                 17     checking account and signed up for and used U.S. Bank’s online/mobile banking
                 18     shortly thereafter. First Amended Complaint, ECF No. 9 (“FAC”) ¶¶ 33-34. In
                 19     opening her checking account, Plaintiff agreed to be bound by U.S. Bank’s Your
                 20     Deposit Account Agreement (“Account Agreement”), which provides the general
                 21     rules applicable to all U.S. Bank deposit accounts. See Declaration of Susan
                 22     Remington (“Remington Decl.”), Ex. A at 2 (“By providing a written or electronic
                 23     signature on a signature card or other agreement or contract, opening, or continuing
                 24     to hold an account with us, you agree to the most recent version of this
                 25     Agreement[.]”); see also id. (“This booklet provides the general rules that apply to
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                    1   the account(s) you have with U.S. Bank.”).1 Plaintiff signed a Signature Card
                    2   acknowledging receipt of the Account Agreement and giving her “express consent to
                    3   the terms and conditions in [the] account agreement[.]” Id., Ex. B.
                    4          The Account Agreement contains an arbitration provision (“Arbitration
                    5   Agreement”) that is prominently displayed in bold type and informs customers: “In
                    6   the event of a dispute relating to or arising out of your account or this
                    7   Agreement, you or we may elect to arbitrate the dispute.” Id., Ex. A at 16
                    8   (emphasis in original). The Arbitration Agreement also informs customers that
                    9   “[a]rbitration can only decide our or your dispute and cannot consolidate or join
                 10     claims of other persons who may have similar claims. There will be no authority
                 11     or right for any disputes to be arbitrated on a class action basis.” Id. (emphasis
                 12     in original).
                 13            A separate paragraph of the Arbitration Agreement, titled “Effects of
                 14     Arbitration” provides:
                 15            If either of us chooses arbitration, neither of us will have the right
                 16            to litigate the dispute in court or have a jury trial. In addition, you
                               will not have the right to participate as a representative or member
                 17            of any class of claimants, or in any other form of representative
                 18            capacity that seeks monetary or other relief beyond your individual
                               circumstances, pertaining to any dispute subject to arbitration.
                 19            There shall be no authority for any claims to be arbitrated on a class
                 20            action or any other form of representative basis. Arbitration can
                               only decide your or our claim, and you may not consolidate or join
                 21            the claims of other persons who may have similar claims, including
                 22            without limitation claims for public injunctive or other equitable
                               relief as to our other customers or members of the general public.
                 23            Any such monetary, injunctive, or other equitable relief shall be
                 24            limited solely to your accounts, agreements, and transaction with us.

                 25     Id. at 16-17 (emphasis in original).
                 26
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                 27         “A court may consider evidence beyond the complaint in ruling on a motion to
                        compel.” Wright v. Sirius XM Radio Inc., 2017 WL 4676580, at *4 (C.D. Cal. June 1,
                 28     2017) (citation omitted).
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                    1         While the Arbitration Agreement provides that the arbitrator will decide
                    2   whether a claim falls within the scope of the Arbitration Agreement, “any question
                    3   as to the validity and effect of [the] class action waiver” is reserved for the Court. Id.
                    4         B.     Despite Her Agreement to Arbitrate, Plaintiff Filed This Action.
                    5         Plaintiff brings this putative class action against U.S. Bank relating to and
                    6   arising out of her checking account and Account Agreement with U.S. Bank.
                    7   Specifically, Plaintiff’s claims are based on her checking account “available balance”
                    8   and overdraft fees charged to her account pursuant to the Account Agreement. FAC
                    9   ¶¶ 1, 6. Plaintiff alleges that on several occasions, U.S. Bank improperly charged her
                 10     a $36.00 overdraft fee when U.S. Bank’s online/mobile banking application reflected
                 11     that she had funds “supposedly available” in her checking account. Id. ¶¶ 36-42.
                 12           Plaintiff separately alleges that “[i]n one instance,” she discovered that her
                 13     checking account reflected $210.01 in available funds when it should have displayed
                 14     that only $0.01 was available. Id. ¶¶ 43-48. Plaintiff alleges that her account “again
                 15     reflected the accurate balance of $0.01” the following day. Id. ¶ 49. Plaintiff does
                 16     not allege that she was charged an overdraft fee on this occasion. Instead, Plaintiff
                 17     alleges that “[i]f Plaintiff had taken Defendant’s representations at face value and
                 18     made a purchase over $0.01, she would have incurred another overdraft fee.” Id. ¶ 50
                 19     (emphasis added).
                 20           Plaintiff alleges, “upon information and belief,” that U.S. Bank “is
                 21     purposefully showing customers like Plaintiff false balances to encourage them to
                 22     spend money that the customer does not actually have.” Id. ¶ 51. According to
                 23     Plaintiff, once those customers withdraw funds, “they get hit with overdraft fees.”
                 24     Id.
                 25           Based on these allegations, Plaintiff asserts four causes of action against U.S.
                 26     Bank: (i) Violation of California’s Unfair Competition Law (“UCL”); (ii) Violation
                 27     of the California Consumers Legal Remedies Act (“CLRA”); (iii) Unjust
                 28     Enrichment; and (iv) Violation of the Rosenthal Fair Debt Collection Practices Act
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                    1   (“Rosenthal Act”). See id. ¶¶ 71-116. Plaintiff seeks, among other things, “equitable
                    2   and injunctive relief, restitution of all amounts illegally obtained, and disgorgement
                    3   of any and all ill-gotten gains.” Id. ¶ 57; see also id., Prayer for Relief. All of
                    4   Plaintiff’s claims “relat[e] to” and “aris[e] out of” her account and the Account
                    5   Agreement, and therefore must be arbitrated. Remington Decl., Ex. A at 16.
                    6   III.   LEGAL STANDARD
                    7          The FAA provides that contractual arbitration agreements “shall be valid,
                    8   irrevocable, and enforceable, save upon such grounds as exist at law or in equity for
                    9   the revocation of any contract.” 9 U.S.C. § 2. A court must compel arbitration if the
                 10     transaction involves interstate commerce and (1) a valid agreement to arbitrate exists;
                 11     and (2) the agreement encompasses the dispute at issue. See Chiron Corp. v. Ortho
                 12     Diagnostic Sys., Inc., 207 F.3d 1126, 1130 (9th Cir. 2000).
                 13            The FAA reflects a liberal federal policy favoring arbitration. AT&T Mobility
                 14     LLC v. Concepcion, 563 U.S. 333, 339 (2011). Thus, “courts must ‘rigorously
                 15     enforce’ arbitration agreements according to their terms, including terms that ‘specify
                 16     with whom [the parties] choose to arbitrate their disputes,’ and ‘the rules under which
                 17     that arbitration will be conducted.’” Am. Express Co. v. Italian Colors Rest., 570
                 18     U.S. 228, 233 (2013) (emphasis and internal citations omitted); see Epic Sys. Corp.
                 19     v. Lewis, 138 S. Ct. 1612, 1621 (2018) (“Not only did Congress require courts to
                 20     respect and enforce agreements to arbitrate; it also specifically directed them to
                 21     respect and enforce the parties’ chosen arbitration procedures.”). “As arbitration is
                 22     favored, those parties challenging the enforceability of an arbitration agreement bear
                 23     the burden of proving that the provision is unenforceable.” Mortensen v. Bresnan
                 24     Commc’ns, LLC, 722 F.3d 1151, 1157 (9th Cir. 2013) (citing Green Tree Fin. Corp.-
                 25     Ala. v. Randolph, 531 U.S. 79, 91 (2000)).
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                    1   IV.   PLAINTIFF MUST ARBITRATE HER CLAIMS
                    2         A.     The FAA Governs the Arbitration Agreement.
                    3         The FAA applies to contracts evidencing a transaction involving interstate
                    4   commerce. See 9 U.S.C. §§ 1, 2. The Act’s reach is expansive and “embodies
                    5   Congress’ intent to provide for the enforcement of arbitration agreements within the
                    6   full reach of the Commerce Clause.” Allied-Bruce Terminix Cos. v. Dobson, 513
                    7   U.S. 265, 274 (1995) (quotation omitted). As the Supreme Court has explained, the
                    8   transaction at issue need not have “any specific effect upon interstate commerce” to
                    9   meet this threshold requirement. Citizens Bank v. Alafabco, Inc., 539 U.S. 52, 56-57
                 10     (2003). Instead, it is sufficient that the economic activity in question represent a
                 11     general practice “bear[ing] on interstate commerce in a substantial way.”           Id.
                 12     (citations omitted).
                 13           Relevant here, courts routinely recognize the “important interstate attributes”
                 14     involved in banking and related financial activities. See id. at 57-58 (finding
                 15     arbitration provision in debt-restructuring agreement subject to the FAA due to the
                 16     broad impact of commercial lending on the national economy); see also Cortina v.
                 17     Citigroup Global Mkts., Inc., 2011 WL 3654496, at *1 (S.D. Cal. Aug. 19, 2011)
                 18     (“There is no question that the financial industry bears on interstate commerce in a
                 19     substantial way.”). Also relevant here, the Ninth Circuit has recognized that “[a]s
                 20     both the means to engage in commerce and the method by which transactions occur,
                 21     the Internet is an instrumentality and channel of interstate commerce.” United States
                 22     v. Sutcliffe, 505 F.3d 944, 953 (9th Cir. 2007) (quotation omitted).
                 23           There can be no dispute that Plaintiff’s use of banking services from a federally
                 24     chartered and regulated national bank, including its Internet-based services,
                 25     constitutes “commerce” within the meaning of the FAA. Plaintiff admits to opening
                 26     a bank account with U.S. Bank. FAC ¶ 33. The Arbitration Agreement is contained
                 27     in the Account Agreement to which Plaintiff agreed upon opening that account.
                 28     Remington Decl., Ex. A at 16; see id., Ex. B. Plaintiff additionally admits that she
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                    1   used U.S. Bank’s services, and “regularly monitored her account through an
                    2   application on her smartphone and online on her computer.” FAC ¶¶ 34, 35. The
                    3   FAA has been found to apply on similar facts. See, e.g., Kilgore v. KeyBank, Nat’l
                    4   Ass’n, 718 F.3d 1052, 1057-58 (9th Cir. 2013) (applying the FAA to arbitration
                    5   clause in agreement between bank and consumer); Cayanan v. Citi Holdings, Inc.,
                    6   928 F. Supp. 2d 1182, 1192 (2013) (applying the FAA to arbitration clauses in
                    7   promissory note between bank and consumers); Ackerberg v. Citicorp USA, Inc., 898
                    8   F. Supp. 2d 1172, 1174-75 (N.D. Cal. 2012) (applying the FAA to arbitration clause
                    9   in credit agreement between bank and consumer). The FAA and its liberal policy
                 10     favoring arbitration likewise apply here.
                 11           B.     A Valid and Binding Arbitration Agreement Exists.
                 12           The validity of an agreement to arbitrate is assessed under state law. See 9
                 13     U.S.C. § 2. Under California law, contract formation requires the parties’ mutual
                 14     assent. Douglas E. Barnhart, Inc. v. CMC Fabricators, Inc., 211 Cal. App. 4th 230,
                 15     242-43 (2012). Such assent may be manifested by written or spoken words, or
                 16     through conduct. Binder v. Aetna Life Ins. Co., 75 Cal. App. 4th 832, 850 (1999)
                 17     (citation omitted); see also Windsor Mills, Inc. v. Collins & Aikman Corp., 25 Cal.
                 18     App. 3d 987, 992 (1972) (“[A]n offeree, knowing that an offer has been made to him
                 19     but not knowing all of its terms, may be held to have accepted, by his conduct,
                 20     whatever terms the offer contains.”) (citations omitted).
                 21           Here, Plaintiff’s assent to the Account Agreement, including the Arbitration
                 22     Agreement contained therein, is manifested by her Signature Card and through her
                 23     opening and use of a U.S. Bank checking account. In signing the Signature Card,
                 24     Plaintiff expressly acknowledged her receipt of the Account Agreement and gave her
                 25     “express consent to the terms and conditions” therein. Remington Decl., Ex. B
                 26     (emphasis added). She also agreed that “[a]ll transactions shall be governed by
                 27     applicable laws and the bank’s terms.” Id.; see also U.S. Bank Nat’l Ass’n v.
                 28     Wayman, 2015 WL 5772730, at *6 (S.D. Cal. Sept. 30, 2015) (“By signing a
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                    1   signature card, a depositor may agree to be bound by the rules and regulations of the
                    2   bank.”) (citation omitted). Moreover, the Account Agreement specifically provides
                    3   that “opening[] or continuing to hold” a U.S. Bank account—as Plaintiff did here—
                    4   constitutes agreement. Remington Decl., Ex. A at 2. Plaintiff did not revoke or
                    5   rescind the Account Agreement and does not allege any contract defenses that would
                    6   render the agreement unenforceable.
                    7         C.     The Arbitration Agreement Encompasses All of Plaintiff’s Claims.
                    8         There can also be no dispute that Plaintiff’s claims in this lawsuit are covered
                    9   by the Arbitration Agreement. The scope of the Arbitration Agreement is broad: it
                 10     covers all disputes “relating to or arising out of [Plaintiff’s] account or this
                 11     Agreement.” Id. at 16. “Under the FAA, arbitration agreements . . . that apply to all
                 12     disputes that arise out of and in connection with or relating to an agreement or the
                 13     services provided therein are interpreted broadly to encompass all manner of disputes
                 14     between the parties.” Sho-Oja v. Sprint Corp., 2014 WL 12561584, at *3 (C.D. Cal.
                 15     Jan. 16, 2014) (citations omitted); see also Delgado v. Progress Fin. Co., 2014
                 16     WL 1756282, at *5 (E.D. Cal. May 1, 2014) (“The use of the ‘relat[ing] to’ language
                 17     is a signal that the scope of the agreement is broad under Ninth Circuit case law and
                 18     encompasses claims beyond the four corners of the contract.”); In re TFT-LCD (Flat
                 19     Panel) Antitrust Litig., 2011 WL 2650689, at *5 (N.D. Cal. July 6, 2011) (“[T]he
                 20     language ‘related to’ must be read broadly” to encompass “matters that, while not
                 21     arising directly under the contractual relationship, are nevertheless related to it.”).
                 22     For Plaintiff’s claims to be covered by the Account Agreement, her claims “need
                 23     only ‘touch matters’ covered by the contract containing the arbitration provision.”
                 24     Koyoc v. Progress Fin. Co., 2014 WL 1878903, at *4 (C.D. Cal. May 9, 2014)
                 25     (citation omitted).
                 26           Here, Plaintiff’s claims do more than merely “touch matters” covered by the
                 27     Account Agreement. Plaintiff alleges that she was improperly charged overdraft fees
                 28     on her U.S. Bank checking account governed by the Account Agreement. See FAC
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                    1   ¶¶ 33-50. The Account Agreement outlines the “terms applicable to all deposit
                    2   accounts,” including, but not limited to, the following terms particularly relevant to
                    3   Plaintiff’s claims:
                    4               “You do not have the right to withdraw funds that exceed the Available
                    5                Balance on your account.” See Remington Decl., Ex. A at 6.
                    6               “The Available Balance does not reflect every transaction you have
                                     initiated or previously authorized.” Id. (emphasis in original).
                    7
                    8               “The funds you deposit to your account are subject to normal collection
                                     processes even after we make the funds available to you for
                    9                withdrawal.” Id. at 4.
                 10                 “We charge an Overdraft Returned Fee for each withdrawal . . . we
                 11                  return because it exceeds your Available Balance on a given day.” Id.
                                     at 6.
                 12
                 13                 “We charge an Overdraft Paid Fee for each item or transaction we pay
                                     that causes the Available Balance to become negative or occurs while
                 14                  the Available Balance is negative on the checking account.” Id.
                 15                 “All account owner(s) are responsible to repay to us any overdraft
                 16                  amount and any overdraft fees charged to an account, no matter which
                                     owner caused it or why.” See id. at 4 (emphasis in original).
                 17
                                    “[I]t is your responsibility to ensure your account has a sufficient
                 18
                                     Available Balance to cover all transactions you conduct. We
                 19                  recommend keeping a record of your balance and deducting every
                                     transaction at the time you initiate it.” Id. at 20.
                 20
                 21            There can be no reasonable doubt that Plaintiff’s claims therefore “relat[e] to
                 22     or aris[e] out of” her U.S. Bank checking account and the Account Agreement
                 23     governing it. See id. at 16. And, even if such doubt could somehow be found to
                 24     exist, any such doubt must be resolved in favor of arbitration. See Moses H. Cone
                 25     Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24-25 (1983); see also United
                 26     Steelworkers of Am. v. Warrior & Gulf Navigation Co., 363 U.S. 574, 582-83 (1960)
                 27     (“An order to arbitrate the particular grievance should not be denied unless it may be
                 28
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                    1   said with positive assurance that the arbitration clause is not susceptible of an
                    2   interpretation that covers the asserted dispute.”).
                    3         Because a valid arbitration agreement exists and the agreement encompasses
                    4   the dispute at issue, arbitration must be compelled. See Chiron Corp., 207 F.3d
                    5   at 1130.
                    6         D.     McGill Does Not Preclude Arbitration of Plaintiff’s Claims.
                    7         U.S. Bank anticipates that Plaintiff will contend that her Arbitration
                    8   Agreement is invalid under McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017), because
                    9   it prohibits the arbitrator from adjudicating claims for public injunctive relief and
                 10     prohibits Plaintiff from litigating this dispute in court if a party elects arbitration. In
                 11     McGill, the California Supreme Court held that a provision that precludes a party
                 12     from seeking public injunctive relief in any forum is invalid and unenforceable under
                 13     California law (the “McGill Rule”). 2 Cal. 5th at 961. But the McGill Rule is
                 14     inapplicable here because Plaintiff is not seeking public injunctive relief, and
                 15     Plaintiff lacks Article III standing to seek public injunctive relief, as required to
                 16     invoke the McGill Rule, in any event.
                 17                  1.     Plaintiff Does Not Seek Public Injunctive Relief.
                 18           While Plaintiff may try to argue that that she seeks public injunctive relief for
                 19     purposes of using the McGill Rule to evade arbitration, the FAC does not request, let
                 20     alone even mention, “public injunctive relief.” See generally FAC. Plaintiff’s
                 21     allegations additionally make clear that public injunctive relief is not at issue here.
                 22           McGill specifically defines claims for public injunctive relief as having the
                 23     primary purpose and effect of preventing harm to the general public and specifically
                 24     excludes relief that has the primary purpose of preventing injury to a group of
                 25     similarly situated individuals. 2 Cal. 5th at 955 (“Relief that has the primary purpose
                 26     or effect of redressing or preventing injury to an individual plaintiff—or to a group
                 27     of individuals similarly situated to the plaintiff—does not constitute public injunctive
                 28     relief.”); see also Wright, 2017 WL 4676580, at *9 (noting that to constitute public
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                    1   injunctive relief, the requested relief must “by and large” benefit the general public);
                    2   Johnson v. JP Morgan Chase Bank, N.A., 2018 WL 4726042, at *7 (C.D. Cal.
                    3   Sept. 18, 2018) (stating that an action does not seek “public injunctive relief” if “the
                    4   individuals who stand to benefit are . . . an inherently circumscribed group”).
                    5   “Merely requesting relief which would generally enjoin a defendant from
                    6   wrongdoing does not elevate requests for injunctive relief to requests for public
                    7   injunctive relief.” Johnson, 2018 WL 4726042, at *6 (emphasis in original, citation
                    8   omitted).
                    9         Johnson is particularly instructive. In Johnson, customers of JPMorgan Chase
                 10     Bank sought redress for the bank’s alleged improper assessment of overdraft fees on
                 11     transactions that did not actually overdraw their checking account available balances,
                 12     among other things. Id. at *1. After JPMorgan sought to compel arbitration, the
                 13     plaintiffs asserted that McGill applied because they sought public injunctive relief
                 14     and the arbitration provision at issue waived that remedy. Id. at *6. The court
                 15     disagreed, reasoning that while the plaintiffs crafted their allegations to request a
                 16     general injunction and injunctive relief, the relief sought was “actually intended to
                 17     redress and prevent further injury to a group of plaintiffs who have already been
                 18     injured by JPMorgan’s allegedly unlawful practices regarding overdraft and
                 19     insufficient funds fees.” Id. at *7. The court also found notable that the classes
                 20     plaintiffs sought to represent were comprised of JPMorgan customers who had
                 21     allegedly incurred the unlawful fees. Id. Thus, any benefit bestowed on the public
                 22     by the requested injunctive relief would be “incidental to Plaintiffs’ primary purpose
                 23     of seeking redress for their own injuries.” Id.
                 24           Similarly here, the relief Plaintiff seeks is on behalf of a group of specific U.S.
                 25     Bank customers. In fact, Plaintiff states that she “brings this Class Action Complaint
                 26     to challenge the deceptive business practices of [U.S. Bank] with regard to [its]
                 27     overdraft fees charged to its customers for manipulating them into overdrafting their
                 28     accounts.” FAC ¶ 1 (emphasis added). Plaintiff alleges that U.S. Bank’s online
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                    1   banking displays falsely represent to its customers the amount of funds available in
                    2   their respective U.S. Bank accounts. See, e.g., id. ¶ 55 (“U.S. Bank’s mobile app
                    3   represents to customers that they have funds they do not actually have available to
                    4   spend.”) (emphasis added). It goes without saying that to the extent U.S. Bank
                    5   charges any overdraft fees or displays account information at all, it does so only as
                    6   to accounts held by its customers, not the public at large.2 Plaintiff seeks monetary
                    7   relief for herself and the proposed Class, including “restitution of all amounts
                    8   illegally obtained, and disgorgement of any and all ill-gotten gains.” Id. ¶ 57. Even
                    9   Plaintiff’s requests for “injunctive relief” pertain to relief for herself and the proposed
                 10     Class, not the public at large. See, e.g., id. ¶ 22 (stating that U.S. Bank’s conduct
                 11     “caused Plaintiff, and others similarly situated, damages, and requires restitution
                 12     and injunctive relief to remedy and prevent future harm”) (emphasis added); see also
                 13     id. ¶ 69 (requesting issuance of a “class-wide injunction”).
                 14            Plaintiff’s proposed “Class” and “Sub-Class” definitions confirm the
                 15     circumscribed nature of this action. Plaintiff defines the proposed “Class” as “All
                 16     persons within California with a U.S. Bank checking account(s) who were charged
                 17     and paid Defendant an overdraft fee(s) at the time his/her checking account showed
                 18     available funds within the last 4 years from the date of the complaint.” Id. ¶ 60
                 19     (emphasis added). Similarly, the proposed “Sub-Class” is defined as “All persons in
                 20     the State of California with a U.S. Bank checking account(s) who were charged an
                 21     overdraft fee(s) at the time his/her checking account showed available funds within
                 22     one year from the date of the complaint.” Id. (emphasis added). As in Johnson, the
                 23     class definitions, factual allegations, and relief sought all demonstrate that Plaintiff
                 24     does not seek public injunctive relief.
                 25
                 26
                           2
                 27          For this reason, Plaintiff’s allegation that U.S. Bank “represent[s] to the
                        consuming public that they have available funds simply to secure overdraft fees,”
                 28     FAC ¶ 79, is necessarily limited to U.S. Bank customers, not the general public.
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                    1         Finally, while Plaintiff purports to predicate a UCL claim on “deceptive,
                    2   untrue or misleading advertisement,” in which she claims that the “public” was
                    3   deceived by “Defendant’s advertising” (id. ¶ 86), her allegations make clear that this
                    4   claim is a mere reformulation of her complaint about U.S. Bank’s disclosure of
                    5   account information to its customers, not the public at large. See id. ¶ 87 (alleging
                    6   as part of the “advertisement” prong of her UCL claim that “[h]ad Plaintiff and the
                    7   putative class members been informed that Defendant’s representation of their
                    8   account balance information with Defendant was false, Plaintiff and the putative
                    9   Class members would not have overdrafted their accounts”) (emphasis added). It is
                 10     again the account information that is at the heart of Plaintiff’s claim, and such
                 11     information is presented exclusively to U.S. Bank customers, not the general public.
                 12     Tellingly, Plaintiff’s alleged “harm” was the purported payment of overdraft fees,
                 13     i.e., fees paid by U.S. Bank customers to the extent paid at all. Id. ¶ 87. In fact,
                 14     Plaintiff does not request an injunction (public or private) in connection with her
                 15     purported “advertisement” claim. See id. ¶¶ 85-92; see also id., Prayer for Relief.
                 16     Instead, further highlighting the private nature of this claim, Plaintiff seeks damages
                 17     in the form of “restor[ation of] monies” to Plaintiff and other U.S. Bank customers.
                 18     See id. ¶ 91.
                 19           As the Ninth Circuit recently confirmed, where public injunctive relief is not
                 20     in issue, the McGill Rule does not apply. See Kramer v. Enter. Holdings, Inc., 829
                 21     F. App’x 259, 260 (9th Cir. 2020) (finding that the plaintiff’s “claims must proceed
                 22     in arbitration” because his “complaint does not seek public injunctive relief within
                 23     the meaning of McGill”); see also Johnson, 2018 WL 4726042, at *8 (“Because the
                 24     Court finds that Plaintiffs do not seek public injunctive relief, McGill does not apply
                 25     and cannot be the basis for Plaintiffs to evade arbitration.”); Austin-Smith v.
                 26     Calatlantic Group, Inc., 2019 WL 8754733, at *5 (C.D. Cal. Apr. 30, 2019) (finding
                 27     plaintiffs’ reliance on McGill “misplaced” because the plaintiffs were not seeking
                 28     public injunctive relief); Wright, 2017 WL 4676580, at *9 (rejecting the plaintiff’s
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                    1   McGill challenge because the complaint did not seek public injunctive relief);
                    2   Sponheim v. Citibank, N.A., 2019 WL 2498938, at *5 (C.D. Cal. June 10, 2019)
                    3   (same); Bell-Sparrow v. SFG*Proschoicebeauty, 2019 WL 1201835, at *5 n.9 (N.D.
                    4   Cal. Mar. 14, 2019) (same); Croucier v. Credit One Bank, N.A., 2018 WL 2836889,
                    5   at *5 (S.D. Cal. June 11, 2018) (same). Because public injunctive relief is not sought
                    6   here, McGill is likewise inapplicable.
                    7                2.     Plaintiff Cannot Invoke the McGill Rule Because She Lacks
                    8                       Article III Standing to Seek a Public Injunction.

                    9         Any attempt by Plaintiff to rely on the McGill Rule would fail for the
                 10     independent reason that she lacks Article III standing to seek public injunctive relief.
                 11     The Ninth Circuit recently held that before a plaintiff may rely on the McGill Rule to
                 12     evade arbitration, a plaintiff “must also allege that she has Article III standing” to
                 13     seek public injunctive relief in federal court. Stover v. Experian Holdings, Inc., 978
                 14     F.3d 1082, 1087 (9th Cir. 2020). Absent such standing, the McGill Rule does not
                 15     preclude arbitration. See id. (rejecting application of the McGill Rule where the
                 16     plaintiff’s complaint did not allege the threat of future harm required for Article III
                 17     standing in a case seeking public injunctive relief).
                 18           “To have standing to obtain injunctive relief, a plaintiff must allege that a ‘real
                 19     or immediate threat’ exists that [s]he will be wronged again.” Shanks v. Jarrow
                 20     Formulas, Inc., 2019 WL 7905745, at *5 (C.D. Cal. Dec. 27, 2019) (quotation
                 21     omitted); see also Chapman v. Pier 1 Imps. (U.S.) Inc., 631 F.3d 939, 946 (9th Cir.
                 22     2011) (“[T]o establish standing to pursue injunctive relief . . . [a plaintiff] must
                 23     demonstrate a ‘real and immediate threat of repeated injury’ in the future.”) (quoting
                 24     O’Shea v. Littleton, 414 U.S. 488, 496 (1974)). Where a plaintiff is knowledgeable
                 25     about a challenged practice or statement, the circumstances in which that plaintiff
                 26     can establish a “real or immediate threat” of future injury necessary to seek an
                 27     injunction are limited and narrowly circumscribed. In that situation, “the threat of
                 28     future harm may be the consumer’s plausible allegations that she will be unable to
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                    1   rely on the product’s advertising or labeling in the future, and so will not purchase
                    2   the product although she would like to” or “the consumer’s plausible allegations that
                    3   she might purchase the product in the future, despite the fact it was once marred by
                    4   false advertising or labeling, as she may reasonably, but incorrectly, assume the
                    5   product was improved.” Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 969-70
                    6   (9th Cir. 2018) (citations omitted). In either scenario, the plaintiff must demonstrate
                    7   that she may suffer an “actual and imminent, not conjectural or hypothetical” threat
                    8   of future harm. Id. at 969.
                    9          Here, Plaintiff cannot meet this threshold standing inquiry because she has not
                 10     pled any facts demonstrating an “actual and imminent” threat of future harm. As
                 11     discussed above, all of Plaintiff’s claims are based on her checking account
                 12     “available balance” and the alleged improper withdrawal of overdraft fees on her
                 13     U.S. Bank checking account. See Section II.B, supra. Standing, however, cannot be
                 14     premised on past wrongs.        Davidson, 889 F.3d at 967 (“[p]ast wrongs [are]
                 15     insufficient by themselves to grant standing” for an injunction). Plaintiff’s request
                 16     for “injunctive relief to remedy and prevent further harm” (FAC ¶ 22) is likewise
                 17     insufficient to confer standing because any injunctive relief with respect to the
                 18     charging of overdraft fees or the displaying of account information is necessarily
                 19     limited to U.S. Bank deposit account holders, and Plaintiff no longer has a U.S. Bank
                 20     deposit account.3 See Remington Decl., ¶¶ 6, 7 (stating that Plaintiff’s checking
                 21     account was closed in the ordinary course as of July 28, 2020, due to being overdrawn
                 22     for approximately two months, and that Plaintiff does not have any open deposit
                 23     accounts with U.S. Bank). Article III standing to seek injunctive relief is plainly
                 24     lacking where a plaintiff no longer has a contractual relationship with the defendant
                 25
                           3
                 26         This fact also draws Plaintiff into further tension with Article III standing, which
                        requires plaintiffs to “distinguish themselves from the public at large by
                 27     demonstrating that the alleged injury ‘affect[s them] in a personal and individual
                        way.” Harris v. Bd. of Supervisors, Los Angeles County, 366 F.3d 754, 761 (9th Cir.
                 28     2004) (quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 n.1 (1992)).
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                    1   and is thus “not personally threatened by [the defendant’s] conduct.”4 Circle Click
                    2   Media LLC v. Regus Mgmt. Group LLC, 2015 WL 3879028, at *4 (N.D. Cal. July 18,
                    3   2016) (quoting Hangarter v. Provident Life & Accident Ins. Co., 373 F.3d 998, 1022
                    4   (9th Cir. 2004)).
                    5          Moreover, Plaintiff does not allege that she seeks to sign up for another U.S.
                    6   Bank deposit account in the future. Such an allegation is a necessary (but not
                    7   sufficient) prerequisite for standing because if Plaintiff does not desire to open
                    8   another U.S. Bank account, the injunction will not benefit her in any way. See
                    9   Davidson, 889 F.3d at 969-70; Stover, 978 F.3d at 1088 (finding plaintiff’s
                 10     allegations inadequate to confer standing because she did not allege a desire to
                 11     purchase the product again in the future). Where a plaintiff “neither has an existing
                 12     business relationship nor any intent to have such a relationship with [the defendant]
                 13     . . . there is no evidence that [plaintiff] is subject to a real or immediate threat” and
                 14     therefore no Article III standing.5 Circle Click Media LLC, 2016 WL 3879028, at *4.
                 15            Plaintiff has not demonstrated a future threat of cognizable harm sufficient to
                 16     confer standing to seek an injunction. Thus, under Stover, the McGill Rule does not
                 17     preclude arbitration. 978 F.3d at 1088.
                 18
                 19
                 20
                 21        4
                              Plaintiff is also not part of the proposed Class or the Sub-Class as defined in the
                        FAC. See FAC ¶ 60 (defining class members as persons “with a U.S. Bank checking
                 22     account(s)”).
                            5
                 23           Any request for leave to amend to add an allegation that Plaintiff desires to open
                        another U.S. Bank account would be futile. See e.g., Colette v. CV Scis., Inc., 2020
                 24     WL 2739861, at *3 (C.D. Cal. May 22, 2020) (finding plaintiffs’ claim that they
                        desire to purchase defendant’s products in the future “unpersuasive” and “strains
                 25     credulity” where plaintiffs would be making such purchase with full knowledge of
                 26     the defendant’s alleged misconduct); Fernandez v. Atkins Nutritionals, Inc., 2018
                        WL 280028, at *14-15 (S.D. Cal. Jan. 3, 2018) (finding no standing to seek injunctive
                 27     relief because the plaintiff had not alleged a desire to purchase the products in the
                        future and “now has knowledge that enables her to make an appropriate choice with
                 28     respect to” the defendant’s products).
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                    1   V.     THIS ACTION SHOULD BE DISMISSED OR, IN THE
                    2          ALTERNATIVE, STAYED PENDING COMPLETION OF
                               ARBITRATION
                    3
                    4          Whether to dismiss or stay an action because of a valid arbitration agreement
                    5   is within the discretion of the Court. See 2151 Michelson, L.P. v. Corp. of the
                    6   Presiding Bishop of the Church of Jesus Christ of Latter-Day Saints, 754 F.
                    7   App’x 596, 597 (9th Cir. 2019). Dismissal is appropriate when all claims in the
                    8   action are subject to arbitration. Id. (citing Sparling v. Hoffman Constr. Co., 864
                    9   F.2d 635, 638 (9th Cir. 1988)). Here, because all of Plaintiff’s claims are subject to
                 10     the Arbitration Agreement, this action should be dismissed. See id. In the alternative,
                 11     the Court should stay this matter pending completion of arbitration. See 9 U.S.C.
                 12     § 3.
                 13     VI.    CONCLUSION
                 14            For the foregoing reasons, U.S. Bank respectfully requests that the Court order
                 15     Plaintiff to individually arbitrate all of her claims against U.S. Bank and dismiss this
                 16     action.
                 17     Dated: December 21, 2020              MORGAN, LEWIS & BOCKIUS LLP
                 18
                 19                                           By /s/ Brian M. Jazaeri
                                                                 Brian M. Jazaeri
                 20                                              Megan A. Suehiro
                                                                 Attorneys for Defendant
                 21                                              U.S. BANK NATIONAL ASSOCIATION
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 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                  16            MOTION TO COMPEL ARBITRATION
   LOS ANGELES
